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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION



Ashley Watson                                    Case No. 8:15-cv-00158-MSS-MAP

       Plaintiff,
                                                  STIPULATION OF DISMISSAL WITH
v.                                                          PREJUDICE

Medicredit, Inc.

       Defendant.


       Now come the parties, through counsel, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii),

hereby dismiss the present action with prejudice, each party to bear its own costs.



RESPECTFULLY SUBMITTED,

Hyslip & Taylor, LLC, LPA                            Lathrop & Gage, LLP

By: /s/ H. Karen Gatto                               By: /s/ Patricia L. Silva
H. Karen Gatto                                       Patricia L. Silva
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Attorney for Plaintiff                               Date: June 1, 2015
Date: June 1, 2015




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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2015, I electronically filed the foregoing Stipulation

through the court’s CM/ECF system, which will perfect service upon the following:


Patricia L. Silva
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Counsel for:
Medicredit, Inc.

                                                                         /s/ H. Karen Gatto




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